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Exhibit B
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U.S. Department of Justice

 

United States Attorney

 

District of New Jersey
Gurbir S. Grewal 970 Broad Street, Suite 700 (973) 645-293]
Assistant U.S. Attorney Newark, NJ 07102 Fax: (973) 297-2045

Economic Crimes Unit

July 14, 2012

BY HAND KORKM C. FOLD, G49
WittianrJ-Sayepht, Esq:

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65 Glen cee

Carmel, NY 10

Re: Guy Gentile
Tak.”

Dear Mr. Sayegh:

With respect to the interview of Guy Gentile (“your client’) by representatives of the
United States Attorney’s Office for the District of New Jersey and Federal Bureau of
Investigation to be held on July 14, 2012 (“the interview”), the following terms and conditions

apply:

1. Should your client be prosecuted, no statements made by your client during the
interview will be used against your client in the government’s case-in-chief at trial or for
purposes of sentencing, except as provided below.:

2. The government may use any statement made or information provided by your client,
or on your client’s behalf, in a prosecution for false statements, perjury, or obstruction of justice,
premised on statements or actions during or subsequent to the interview.

3. The government may make derivative use of and may pursue any investigative leads
suggested by any statements made or other information provided by your client, and may use the
evidence or information obtained therefrom against your client in any manner,

4. The government may use your client’s statements and any information provided by
your client to cross-examine your client and to rebut any evidence or arguments offered on your
client’s behalf.
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5. Neither this letter nor the interview constitutes a plea discussion. In the event this
letter or the interview is later construed to constitute a plea discussion, your client knowingly and
voluntarily waives any right your client might have under Fed. R. Evid. 41 0, Fed. R. Crim. P.
11(f), or otherwise, to prohibit the use against your client of statements made or information
provided during the interview.

6. Neither this letter nor the interview requires the government to enter into any plea
discussions with your client or to file any motion regarding cooperation provided by your client.
Furthermore, neither this letter nor the interview constitutes the timely provision of complete
information to the government concerning your client’s involvement in an offense, within the
meaning of Section 3E1.1(b)(1) of the Sentencing Guidelines.

7. No statements made by your client during the interview shall be used directly to
determine the applicable Sentencing Guidelines range, except as set forth in the final sentence of
this paragraph. However, the government may use such statements and any other information
provided by your client to pursue investigative leads suggested thereby and may use any evidence
or information generated by its investigation directly against your client to determine the
applicable guideline range. Moreover, with regard to sentencing, the government may use the
statements made and the information provided by your client during the interview to cross-
examine your client and to rebut any evidence or arguments offered on your client’s behalf. In
addition, the government may disclose to the Probation Office and the Court any statements
made and information provided by your client and may use such statements and information to
determine where within a given guideline range your client should be sentenced and to oppose
any downward departure or downward adjustment.

Sincerely,

PAUL J. FISHMAN
United States Attorney

By: Gurbir S. Grewal
Assistant U.S. Attorney

 
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ADAM ¢. Faad

I have received this letter from my attorney, Wittiam-Sayegtr Esq., I have read it, and |
understand it fully. I hereby accept the terms and conditions set forth in the letter. This
constitutes the full agreement between the parties regarding the government's use of the
statements I made and information I provided during the interview.

AGREED AND ACCEPTED:

 

Guy Gentile Date:

ttienrSeveghs Esq. Date: auyfr2
ADSM Fens
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U.S. Department of Justice

 

United States Attorney
District of New Jersey

 

Gurbir S. Grewal 970 Broad Street, Suite 700 (973) 645-2931
Assistant U.S. Attorney Newark, NJ 07102 Fax: (973) 297-2045
Economic Crimes Unit

July 15, 2012

BY HAND

Adam C. Ford, Esq.

Kramer Levin Naftalis & Frankel LLP
1177 Avenue of the Americas

New York, NY 10036

Re: Guy Gentile

Dear Mr. Ford:

With respect to the interview of Guy Gentile (“your client”) by representatives of the
United States Attorney’s Office for the District of New Jersey and Federal Bureau of
Investigation to be held on July 15, 2012 (“the interview”), the following terms and conditions
apply:

1. Should your client be prosecuted, no statements made by your client during the
interview will be used against your client in the government’s case-in-chief at trial or for
purposes of sentencing, except as provided below.

2. The government may use any statement made or information provided by your client,
or on your client’s behalf, in a prosecution for false statements, perjury, or obstruction of justice,
premised on statements or actions during or subsequent to the interview.

3. The government may make derivative use of and may pursue any investigative leads
suggested by any statements made or other information provided by your client, and may use the
evidence or information obtained therefrom against your client in any manner.

4, The government may use your client’s statements and any information provided by
your client to cross-examine your client and to rebut any evidence or arguments offered on your
client’s behalf.
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5. Neither this letter nor the interview constitutes a plea discussion. In the event this
letter or the interview is later construed to constitute a plea discussion, your client knowingly and
voluntarily waives any right your client might have under Fed. R. Evid. 410, Fed. R. Crim. P.
11(f), or otherwise, to prohibit the use against your client of statements made or information
provided during the interview.

6. Neither this letter nor the interview requires the government to enter into any plea
discussions with your client or to file any motion regarding cooperation provided by your client.
Furthermore, neither this letter nor the interview constitutes the timely provision of complete
information to the government concerning your client’s involvement in an offense, within the
meaning of Section 3E1.1(b)(1) of the Sentencing Guidelines.

7. No statements made by your client during the interview shall be used directly to
determine the applicable Sentencing Guidelines range, except as set forth in the final sentence of
this paragraph. However, the government may use such statements and any other information
provided by your client to pursue investigative leads suggested thereby and may use any evidence
or information generated by its investigation directly against your client to determine the
applicable guideline range. Moreover, with regard to sentencing, the government may use the
statements made and the information provided by your client during the interview to cross-
examine your client and to rebut any evidence or arguments offered on your client’s behalf. In
addition, the government may disclose to the Probation Office and the Court any statements
made and information provided by your client and may use such statements and information to
determine where within a given guideline range your client should be sentenced and to oppose
any downward departure or downward adjustment.

Sincerely,

PAUL J. FISHMAN
United States Attorney

By: Gurbir S. Grewal
Assistant U.S. Attorney
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I have received this letter from my attorney, Adam C. Ford, Esq. This constitutes the full
agreement between the parties regarding the government’s use of the statements I made and
information I provided during the interview.

AGREED AND ACCEPTED:

I! g

Guy ght 7 Date: shh A

 

Adam C. Ford, Esq. Date: Us)7>
